           Case 1:20-vv-02052-UNJ Document 39 Filed 07/22/22 Page 1 of 5




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-2052V
                                          UNPUBLISHED


    MONIQUE GINN,                                               Chief Special Master Corcoran

                         Petitioner,                            Filed: June 22, 2022
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Jimmy A. Zgheib, Zgheib Sayad, P.C., White Plains, NY, for Petitioner.

Amanda Pasciuto, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES1

       On December 3, 2020, Monique Ginn filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccine administered in her
right arm on November 1, 2019. Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

      On May 17, 2022, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for her SIRVA. On June 21, 2022, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded $83,500.00,
representing compensation for her pain and suffering. Proffer at 1. In the Proffer,


1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:20-vv-02052-UNJ Document 39 Filed 07/22/22 Page 2 of 5



Respondent represented that Petitioner agrees with the proffered award. Id. Based on
the record as a whole, I find that Petitioner is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $83,500.00, representing compensation for her pain and suffering
in the form of a check payable to Petitioner. This amount represents compensation for
all damages that would be available under Section 15(a).

       The Clerk of Court is directed to enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
         Case 1:20-vv-02052-UNJ Document 39 Filed 07/22/22 Page 3 of 5




               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS


 MONIQUE GINN,

                Petitioner,                           No. 20-2052V
                                                      Chief Special Master Brian H. Corcoran
 v.

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                Respondent.


            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On December 30, 2020, Monique Ginn (“petitioner”) filed a petition for compensation

under the National Childhood Vaccine Injury Act of 1986, as amended (“the Vaccine Act” or

“the Act”), 42 U.S.C. §§ 300aa-1 to -34. Petitioner alleges that she suffered a right shoulder

injury related to vaccine administration (“SIRVA”) as a result of an influenza (“flu”) vaccine

administered to her on November 1, 2019. See generally Petition.

       On May 17, 2022, the Secretary of Health and Human Services (“respondent”) filed a

Rule 4(c) Report indicating that this case is appropriate for compensation under the terms of the

Act for a SIRVA Table injury, and on the same date, the Chief Special Master issued a Ruling on

Entitlement finding petitioner entitled to compensation. ECF No. 28; ECF No. 29.

I.     Items of Compensation

       A.      Pain and Suffering

       Respondent proffers that petitioner should be awarded $83,500.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees. This amount represents all elements of

compensation to which petitioner is entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.
         Case 1:20-vv-02052-UNJ Document 39 Filed 07/22/22 Page 4 of 5




II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following 1: a lump sum payment of $83,500.00, in the form of a

check payable to petitioner.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Monique Ginn:                $83,500.00

                                                     Respectfully submitted,
                                                     BRIAN M. BOYNTON
                                                     Principal Deputy Assistant Attorney General

                                                     C. SALVATORE D’ALESSIO
                                                     Acting Director
                                                     Torts Branch, Civil Division

                                                     HEATHER L. PEARLMAN
                                                     Deputy Director
                                                     Torts Branch, Civil Division

                                                     DARRYL R. WISHARD
                                                     Assistant Director
                                                     Torts Branch, Civil Division




1Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                2
        Case 1:20-vv-02052-UNJ Document 39 Filed 07/22/22 Page 5 of 5




                                         /s/ Amanda Pasciuto
                                         AMANDA PASCIUTO
                                         Trial Attorney
                                         Torts Branch, Civil Division
                                         U.S. Department of Justice
                                         P.O. Box 146
                                         Benjamin Franklin Station
                                         Washington, D.C. 20044-0146
                                         (202) 616-4847
                                         Amanda.Y.Pasciuto@usdoj.gov

Dated: June 21, 2022




                                     3
